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U9. DISTRIET COURT
EASTEAN DISTRICT OF LA, 3
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WILLIAM ¥. BLEVINS
CLERK
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

BILL OF INFORMATION FOR

VIOLATIONS OF THE FEDERAL CONTROLLED SUBSTANCES ACT

19=00089

UNITED STATES OF AMERICA * CRIMINAL NO:
“ -— secriox: SECT. M MAG. 4
ANGELA BOURGEOIS * VIOLATION: 21 U.S.C. § 843(b)

* * *

The United States Attorney charges that:
COUNT 1
(Use of a Communication Facility in Causing or Facilitating a Drug Trafficking Felony)

1. On or about September 1, 2017, in the Eastern District of Louisiana, the
defendant, ANGELA BOURGEOIS, did knowingly and intentionally use any communication
facility, to wit, a telephone, in facilitating the commission of any act or acts constituting a felony
under Title 21, United States Code, Sections 841(a)(1) and 846, that is, conspiracy to distribute
and possess with the intent to distribute heroin, a Schedule I drug controlled substance; all in

violation of Title 21, United States Code, Section 843(b).

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NOTICE OF DRUG FORFEITURE

1. The allegations of Counts One of this Bill of Information are realleged and
incorporated by reference as though set forth fully herein for the purpose of alleging forfeiture to
the United States of America pursuant to the provisions of Title 21, United States Code, Section
853.

2. As a result of the offense charged in Count One of this Bill of Information, the
defendant, ANGELA BOURGEOIS, shall forfeit to the United States pursuant to Title 21,
United States Code, Section 853, any and all property constituting or derived from any proceeds
the defendant obtained directly or indirectly as a result of said violations and any and all property
used or intended to be used in any manner or part to commit and to facilitate the commission of
the violations alleged in Count One of this Bill of Information.

3. If any of the property subject to forfeiture pursuant to Paragraph 2 of this Notice
of Forfeiture, as a result of any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be subdivided without

difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to
seek forfeiture of any other property of said defendants up to the value of the above forfeitable

property.
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All in violation of Title 21, United States Code, Sections 853, and 843(b).

   

NICHOLAS D. MOSES
istant United States Attorneys

New Orleans, Louisiana
May 14, 2019
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